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                              UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION
---------------------------------------------------------------x
                                                               :
In re                                                          : Chapter 11
                                                               :
LIMETREE BAY SERVICES, LLC, et al.,1                           : Case No. 21-32351 (DRJ)
                                                               :
                                                               : Jointly Administered
                  Debtors.                                     :
---------------------------------------------------------------x Related to Docket No. 495

      STIPULATION BETWEEN COMMITTEE AND PREPETITION AGENTS
    CLARIFYING CERTAIN COMMITTEE CHALLENGE RIGHTS PURSUANT TO
                FINAL POSTPETITION FINANCING ORDER

         This stipulation (this “Stipulation”) is entered into by and among: (a) the Official

Committee of Unsecured Creditors (the “Committee”) of the above-captioned debtors and

debtors in possession (collectively, the “Debtors”), (b) Wilmington Trust, National Association,

as administrative agent (the “Prepetition Term Agent”) under that certain Amended and Restated

Credit Agreement, dated as of December 24, 2020 (as amended, restated, or otherwise modified

from time to time, the “Prepetition Term Credit Agreement”), (c) Goldman Sachs Bank USA, as

administrative agent (the “Prepetition Revolving Agent”) under that certain Credit Agreement,

dated as of November 20, 2018 (as amended, restated, or otherwise modified from time to time,

the “Prepetition Revolving Credit Agreement”), (d) Goldman Sachs Bank USA, as project

collateral agent (the “Prepetition Project Collateral Agent”) under that certain Collateral Agency

and Intercreditor Agreement, dated as of November 20, 2018 (as amended, restated, or otherwise

modified from time to time), and (e) J. Aron & Company LLC (“J. Aron”) in connection with the


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776);
Limetree Bay Refining Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining
Operating, LLC (9067); Limetree Bay Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree
Bay Services, LLC, 11100 Brittmoore Park Drive, Houston, TX 77041.
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J. Aron Transaction Documents (as defined in the Final Order referenced below). The

Prepetition Term Agent, the Prepetition Revolving Agent, and the Prepetition Project Collateral

Agent and J. Aron are collectively referenced herein as the “Prepetition Agents.” The

Committee and the Prepetition Agents are collectively referenced herein as the “Parties.”

          WHEREAS, on July 12, 2021, the Debtors filed voluntary petitions for relief under

chapter 11 of title 11 of the United States Code before the United States Bankruptcy Court for

the Southern District of Texas, Houston Division (the “Court”).

          WHEREAS, on August 27, 2021, the Court entered the Final Order (I) Authorizing the

Debtors to (A) Obtain Postpetition Senior Secured Superpriority Financing and (B) Use Cash

Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties; (III) Modifying the

Automatic Stay, and (IV) Granting Related Relief [Docket No. 495] (the “Final Order”).2 The

Final Order, among other things, set a Challenge Period during which the Committee and other

parties in interest may, subject to the limitations in the Final Order, assert a Challenge with

respect to the Debtors’ Stipulations in favor of the Prepetition Agents under the Final Order.

          WHEREAS, in order to clarify certain rights of the Committee to assert a Challenge

pursuant to and as limited by the Final Order, the Parties have agreed to enter into this

Stipulation.

          NOW, THEREFORE, the Parties, by and through their respective undersigned counsel,

hereby stipulate and agree as follows:

          1.        None of the Prepetition Agents has any claims against or liens on the property of

any Debtors other than Debtors Limetree Bay Refining, LLC (“LBR”), Limetree Bay Refining

Marketing, LLC, and Limetree Bay Refining Operating, LLC (together, the “Applicable


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    Each capitalized term that is not defined herein will have the meaning ascribed to such term in the Final Order.



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Debtors”), except for a pledge of the membership interests in LBR by Debtor Limetree Bay

Refining Holdings II, LLC and the other “Collateral” as described more fully in that certain Pledge

Agreement, dated November 20, 2018, by and among Limetree Bay Refining Holdings II, LLC

and Goldman Sachs Bank USA.

       2.      The Prepetition Collateral securing the obligations under the Prepetition Term

Credit Agreement, the Prepetition Revolving Credit Agreement, and the J. Aron Transaction

Documents does not include, and/or the Prepetition Agents do not have a perfected or otherwise

enforceable security interest in, the following assets of the Applicable Debtors or the proceeds

thereof: (a) any Commercial Tort Claims (as that term is used in each of (i) that certain Security

Agreement, dated as of November 20, 2018, by and between the Applicable Debtors and

Goldman Sachs Bank USA; and (ii) that certain Security Agreement dated as of March 3, 2020,

by and between LBRM and J. Aron); (b) any insurance policies as to which any of the

Prepetition Agents was not designated as loss payee, additional insured or assignee and as to

which any of the Prepetition Agents’ liens were not otherwise perfected under applicable law, in

each case, provided that the Prepetition Collateral does include the proceeds of insurance arising

from a loss or damage to collateral in which the Prepetition Agents otherwise have a perfected

lien; and (c) any Excluded Property (as defined in the applicable collateral agreements ancillary

to the Prepetition Term Credit Agreement, the Prepetition Revolving Credit Agreement, and the

J. Aron Transaction Documents) for so long as such property shall constitute Excluded Property.

       3.      Subject to the provisions of the Final Order, including the Challenge Period set

forth therein, all rights that the Committee may have to contest the following are preserved:

(i) for a period of ten (10) business days after J. Aron provides to the Committee the statement,

required pursuant to section 13.2(c) of the Monetization Master Agreement, dated as of March 3,




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2020, among J. Aron, LBRM, LBR and LBRO, showing in reasonable detail, such calculations

specifying any Settlement Amount (as defined in the J. Aron Transaction Documents) payable

and documentation that J. Aron reasonably believes supports such calculation, subject to

extension by J. Aron in writing or by an Order of the Court, the Settlement Amount; (ii) the

allowance of any interest (or default rate interest) paid or accrued under the Prepetition Term

Credit Agreement or the Prepetition Revolving Credit Agreement; (iii) the accuracy of the

calculation of the amount of any principal, interest, fees, costs or charges paid or accrued under

the Prepetition Term Credit Agreement or the Prepetition Revolving Credit Agreement; (iv) the

reasonableness pursuant to section 506(b) of the Bankruptcy Code of the amounts of any fees,

costs or charges to the extent provided for under the Prepetition Term Credit Agreement or the

Prepetition Revolving Credit Agreement; (v) any adequate protection or diminution claim that

may be asserted by the Prepetition Agents (other than J. Aron) or any individual lender under the

Prepetition Term Credit Agreement or the Prepetition Revolving Credit Agreement against the

Applicable Debtors or their estates; and (vi) any liens or claims that the Prepetition Agents (other

than J. Aron) may assert in respect of or against the IFF Property, the Inventory Financing

Collateral, or the proceeds thereof.

       4.      Except as set forth in paragraphs 1 through 3 above and without prejudice to the

rights of the Committee reserved through an extended Challenge Period with respect to any

Challenge described in clause (y) of the definition of “Challenge” in paragraph 42 of the Final

Order against any of the Prepetition Secured Parties other than J. Aron, the Committee shall not

assert any Challenge against the Prepetition Secured Parties. For the avoidance of doubt, nothing

in this Stipulation affects any Challenge that may be asserted by the Committee involving the

Prepetition Holdco Debt Obligations or the Prepetition Holdco Loan Parties.




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       5.      Nothing herein and none of the Debtors’ Stipulations in the Final Order shall have

any impact on any rights, claims, defenses, offsets, or causes of action that the Committee or the

Debtors’ estates may have against the Prepetition Agents or J. Aron unrelated to the Prepetition

Term Credit Agreement, the Prepetition Revolving Credit Agreement, the J. Aron Transaction

Documents, or the obligations thereunder.

       6.      This Stipulation will be binding and effective upon execution by each of the

Parties hereto. This Stipulation may not be amended or modified without the written consent of

each of the Parties as such provisions pertain to the applicable Party or Parties. This Stipulation

may be executed in counterparts by facsimile or other electronic transmission, each of which will

be deemed an original, and all of which when taken together will constitute one document. This

Stipulation shall be binding on any successors in interest or assignees of the Prepetition Agents,

in their respective capacities as such.

       7.      Except as expressly set forth in paragraphs 1 through 3 above and subject to the

reservation of rights referred to in paragraph 4 above, nothing herein shall (or shall be deemed

to) modify, amend or derogate from the Final Order. The Court will retain jurisdiction over all

matters related to this Stipulation and the Final Order.




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             [Signature Page of Counsel to Prepetition Agents to Stipulation]
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